     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 1 of 43



                IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
_______________________________________

Elizabeth M. Shank,                               Court File No. 16-cv-1154 ECT/HB

                      Plaintiff                     PLAINTIFF’S
                                                    MEMORANDUM OF LAW
                                                    OPPOSING DEFENDANT’S
v.
                                                    MOTION FOR SUMMARY
Carleton College,                                   JUDGMENT

                      Defendant.


                                    INTRODUCTION

       Carleton College is a renowned educational institution. Elizabeth Shank believed

the school would be great and was committed to graduating from there. On the night of

September 10, 2011, two days before Shank began freshman classes, she was raped in her

dormitory room by a fellow freshman and dormitory resident (“Student One”). In her

sophomore year, Shank was raped again by another fellow student and dormitory resident

(“Student Two”). Carleton did a number of things attempting to assist Shank, and as to

be expected, discusses them in its opening brief. Carleton takes it a step further,

however, claiming as a result of those things there are NO material fact disputes. Def.’s

Mem. (“D.M.”)1-2.

       That is false. Carleton’s brief ignores substantial evidence (much from its own

witnesses) demonstrating many material fact disputes and several times conclusive

evidence that supports Shank’s claims.

       Carleton’s brief also ignores established statutory and case law, most notably
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 2 of 43



Judge Schiltz’s decision on Carleton’s motion to dismiss, which establishes the legal

template for this motion. Judge Schiltz declined to dismiss Shank’s Title IX claim based

on Carleton’s deliberate indifference in responding to the two rapes.1

       Judge Schiltz also refused to dismiss Shank’s negligence claim, which included

Carleton’s “negligently responding to the rapes.” 2 Carleton’s brief nonetheless ignores

the bulk of Shank’s negligence claim, including its negligence in the adjudicatory process

against Student One, its multiple violations of its own policies, its failure to take

reasonable steps to protect Shank, and its imposition of a sanction on Student One

requiring him to have a “mediated conversation” with Shank, a conversation Carleton

then forced Shank to have by claiming (incorrectly) Shank must meet with him to learn

about all of his sanctions.

       This case gives voice to the trauma Shank has suffered because of Carleton’s

institutional betrayal, a doctrine that goes a long way to validating why Carleton’s

misconduct was and continues to be so devastating to Shank.3 Shank displays many of

the classic reactions of a person who has suffered betrayal by an institution on which she

was dependent (for example, evidence that Shank at various times blamed herself,


1
  Shank v. Carleton College, 232 F. Supp. 3d 1100, 1110 (D. Minn. 2017). Judge Schiltz
also declined to dismiss Shank’s ADA/Rehabilitation Act and intentional infliction of
emotional distress (“IIED”) claims. Id. at 1110, 1114.
2
  Id. at 1111.
3
  Institutional betrayal results from an institution’s wrongdoings against individuals
dependent on that institution, including the failure to prevent or respond supportively to
wrongdoings by individuals (e.g., sexual assault), committed within the context of the
institution. Carly P. Smith & Jennifer J. Freyd, Dangerous Safe Havens: Institutional
Betrayal Exacerbates Sexual Trama, 26 J. Traumatic Stress 119, 120 (Feb. 2013).

                                              2
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 3 of 43



changed or was unable to make up her mind, minimized her trauma, or thanked persons),

reactions Carleton relies on, ironically, to claim entitlement to summary judgment.4

       Shank has engaged three leading experts to put Shank’s reactions and Carleton’s

conduct in context: Brett Sokolow on the standards of care in colleges’ handling of

sexual misconduct matters;5 Dr. Mary Koss on the typical characteristics of sexual assault

victims and restorative justice;6 and Dr. Jennifer Freyd on institutional betrayal and

trauma betrayal and the devastating effects on persons subjected to it.7 Each published a


4
  Carleton cherry picks documents to paint the picture that Shank was just fine and
thought Carleton supportive. D.M.1; id.5 (Shank “felt ‘fantastic’” about ongoing therapy
plan); id. (new room move “has literally been amazing”); id.7 n.4 (writing statement
about Student One “beneficial for [her] healing process”); id.at 9 (“probably better” she
could not read Student One’s statement); id.11, 17 (Shank’s mother grateful and said
Shank “loved Carleton”); id.12 (Shank thanked Carlson for “understanding and
support”); id. 14 (Student One meeting went “well” and things were “better”); id.17
(Shank “doing well” after no-contact order reinstated).
        Such documents merely raise fact disputes. Every time Shank claimed she was
better, another document or event showed she was not. S.App.1-2(Shank cutting herself);
S.App.3-8(Shank attempted suicide); C.App.669(9/12/12 community concern form about
Shank’s precarious state); C.App.639(10/17/12 Carlson email disclosing Shank “[had]
gone back in time emotionally” after Student One meeting).
        Dr. Freyd testified that: “a school could do 20 things right, and if they do one thing
wrong, that one wrong can still be institutional betrayal. The 20 right things don’t
necessarily mitigate against the one wrong thing.” S.App.12-13(Freyd Dep. 83-84).
        Cites to “S.App.” refer to Shank’s appendix; cites to “C.App.” refer to
Carleton’s appendix. Citations to specific pages of documents or depositions in those
appendices are included in parentheses after the appendix cites.
5
  Sokolow is an attorney whose expertise is advising colleges about risk management in
the handling of student sexual misconduct. He is vastly qualified to do this and testify
regarding school industry standards.
6
  Mary P. Koss, PhD, is a Regents Professor at Zuckerman College of Public Health at
the University of Arizona. She earned her doctorate in clinical psychology from the
University of Minnesota.
7
  Jennifer J. Freyd, PhD, is a 2018-19 Fellow of the Center for Advanced Study for the
Behavior Sciences, Stanford University, and Professor of Psychology, University of
Oregon. She is an expert on trauma betrayal and institutional betrayal.
                                              3
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 4 of 43



report in this case and was deposed by Carleton.

       There are material fact disputes regarding Shank’s claims, including on all issues

Judge Schiltz called out in his order. Carleton’s counsel has also admitted many of those

fact disputes. Accordingly, the Court should deny Carleton’s motion.

           SUBSTANTIAL EVIDENCE SUPPORTS SHANK’S CLAIMS

I.     CARLETON’S LONG HISTORY OF WRONGDOING IN RESPONDING
       TO CAMPUS SEXUAL ASSAULTS.

       Carleton claims to be “recognized as a leader in preventing and responding to

sexual violence.” D.M.2. But Carleton’s dereliction in responding to sexual violence led

both to a 1991 lawsuit and the 1992 passage of the Campus Sexual Assault Victim’s Bill

of Rights (“CSAVBR”).8 The CSAVBR was enacted to increase schools’ protection of

sexual assault victims and “to combat the re-victimization of rape survivors at college

campuses…[because] many image conscious schools were more concerned about

protecting their image than seeing justice done”)(emphasis added).9

       The 1991 lawsuit triggering that legislation was brought by four students/alumnae

challenging Carleton’s deplorable response to their rapes on campus. Baumann v.

Carleton College, Case No. 66-C8-91-000435 (Scott Cty. 1991).10

       In the lawsuit’s settlement, Carleton agreed:

       Since victims of sexual assault are under great stress, they need support and
       assistance from professionally trained counselors in making critical choices about
       how to proceed with either criminal complaints or College disciplinary
       proceedings;

8
  S.App.15-15.02(5/15/91 AP article); S.App.16(5/15/91 STARTRIBUNE article).
9
  S.App.17.
10
   Sokolow Decl. Ex. 1 at 28-29.
                                             4
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 5 of 43




       The additional stress and potential revictimization as a result of a victim
       confronting her aggressor on campus are of special concern, and available College
       sanctions need to address this issue explicitly; and

       . . . an individual who has sexually assaulted women in the past may pose a threat
       to other women in the future if appropriate disciplinary action is not taken….

S.App.18-22(joint statement).

       Yet almost twenty years later, Carleton failed to fulfill those undertakings when

responding to the two rapes here. Indeed, after this suit was filed, both an article

published in Carleton’s student newspaper11 and a posting by a former Carleton sexual

assault counselor noted the similarities between the two cases.12

       Over the years, students have repeatedly demanded Carleton improve its response

to sexual assault.13 For instance, in 2008, a number of survivors formed a group to

challenge Carleton’s mishandling of sexual assaults.14

       In 2015, another student started a petition seeking revisions to Carleton’s sexual

misconduct policies, including the minimal level of sanctions levied: “[t]hough Carleton

takes a punitive approach in other forms of misconduct, such as academic, sexual

violence is considered ‘a learning opportunity.’”15



11
   S.App.23-25.
12
   S.App.26-49(“deeply discouraging similarities between the [two] complaints”).
13
   An editorial in a 2010 issue of the student newspaper noted Carleton needed
improvements in order to “deal[] productively with sexual violence.” S.App.52.
Although the editorial praised a 2010 revamp of Carleton’s sexual misconduct policies,
id., the very next year, Carleton began violating many of those policies when dealing
with Shank.
14
   S.App.53(CARLETONIAN 2008).
15
   S.App.56(CARLETONIAN 2015)(emphasis added).
                                              5
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 6 of 43



       Carleton continues its pattern of arrogance, victim blaming, and deliberate

indifference/disregard in the face of years of demands for change. Carleton’s arrogance

in this regard is likely one of the reasons why it has been so blind to its misconduct in this

case and so committed to blaming the victim.

II.    CARLETON ADMITTEDLY CONDONES UNDERAGE DRINKING.

       Consistent with its blame-the-victim tactics, Carleton asserted Shank attended

programs on Carleton’s alcohol policy and knew underage drinking was prohibited.

D.M.2-3. Carleton then shamed Shank for attending parties and becoming intoxicated.

Id.3. Such victim-blaming does not excuse Carleton’s deliberate indifference/disregard

and negligence in this case.

       Carleton’s argument also ignores its own witnesses’ admissions regarding the

school’s well-known, longstanding refusal to enforce its written alcohol policies,

especially those pertaining to underage drinking. For example, Carleton’s 30(b)(6)

witness on the topic of its alcohol culture from 2011 to 2015, admitted “we didn’t

distinguish between who is underage or who is not” for purposes of student drinking.

C.App.251(Gordon 25).

       Hudlin Wagner, then Dean of Students, testified she was not surprised Shank

stated resident assistants (“RAs”) told her at the start of her freshman year it was okay for

underage students to drink in their rooms. C.App.473(23). Other Carleton witnesses

agreed Shank’s statement was not a surprise.16


 Amy Sillanpa, Carleton’s Associate Director of Student Life and its sexual misconduct
16

complaint process coordinator, testified the same way, C.App.332(14), as did Julie
                                              6
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 7 of 43



       This yawning gap between written policy and reality was confirmed by a

consultant Carleton hired in 2014 to evaluate its social misconduct policies:

       [S]taff members agreed that while Carleton’s alcohol policy is clear as
       written, there is great laxity in its enforcement, especially regarding open
       containers of alcohol, the consumption of alcohol by minors, and the
       serving of alcohol to minors.

S.App.71(Jueds Report 12). One of Carleton’s deans noted the “contrast between

the unambiguous written alcohol policy and the culture of looking the other way.”

S.App.72(id. 13). Another staff member reported “I don’t like having

conversations about underage drinking, because on the whole we don’t enforce

that policy, on the whole nobody cares,” id., while a third admitted “we do have a

clear policy; we just don’t do anything about it.” S.App.71(id. 12).

       This failure is troubling because Carleton knows drinking is the number one factor

in campus sexual assaults, a fact acknowledged in Carleton’s sexual misconduct training

materials and by several Carleton witnesses.17

       Carleton’s willful blindness and illegal condonation of underage drinking, despite

the known risks of alcohol, created a culture of sexual assault.18 Shank suffered as a

result of that culture and Carleton’s longstanding pattern of deliberate indifference to the

rights of sexual assault victims.




Thornton, an associate student dean who was also on Carleton’s Title IX lead team.
C.App.424(91-92).
17
   C.App.229-30(Dunnewold 92-93); S.App.128, 142-43; C.App.415(Thornton 57);
C.App.301-02(Mullen 56-57).
18
   Koss Decl. Ex. 1 at 3-5.
                                              7
       CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 8 of 43



III.    CARLETON WAS DELIBERATELY INDIFFERENT TO SHANK’S
        RIGHTS AND SAFETY AND WAS NEGLIGENT WHEN RESPONDING
        TO THE FIRST RAPE.

        A.    The First Rape.

        Shank came to Carleton in early September 2011 to start her freshman year.

C.App.28(29). Four days later, she was raped in her dormitory room by Student One, a

seventeen-year-old freshman whose dorm room was on the same floor. C.App.33(51);

C.App.65(163). Before the rape, both had gone to on-campus parties hosted by

upperclassman who provided them with alcohol. 19

        Two days later, Student One sent a Facebook message to Shank admitting he

“didn’t seek consent from [Shank].”20

        B.    Carleton’s Student Health and Counseling Center (“SHAC”)
              Deliberately Disregarded Shank’s Rights and Safety after the First Rape.

        Earlier that same day, Shank had gone to SHAC to get a transportation token to

the local hospital for a rape examination after learning about the tokens on Carleton’s

website. C.App.34(53). Shank told a nurse “she might have been raped.”21 Both the

nurse and the receptionist22 refused Shank’s request for a token.23

        Carleton’s Sexual Misconduct Policy in 2011-12 (“SM Policy”) provided,

however, that students could obtain vouchers for transportation to the hospital for rape


19
   C.App.31-32(Shank 44-45).
20
   C.App.621.
21
   The written record of Shank’s visit to SHAC states “[s]he believes she gave consent,”
C.App.578, but Shank denied it. C.App.35(58).
22
   Carleton submitted the SHAC receptionist’s affidavit, who denied that Shank asked for
a token or a rape exam, C.App.968-70, thus creating a material fact dispute.
23
   C.App.34, 39(53, 55, 75-76).
                                             8
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 9 of 43



exams. C.App.567. Julie Thornton, Carleton’s former associate dean of students and

Title IX Coordinator, confirmed Shank had an absolute right to obtain a token from

SHAC and the refusal violated Carleton’s SM Policy.24

       The nurse also discouraged Shank from obtaining a rape exam and “encouraged

[Shank] to talk to [Student One] about it because communication in these situations is

important.”25

       The next day, Shank met with a SHAC counselor who also talked her out of a rape

exam. C.App.35-36(60-64). When Shank expressed concern about the potential effects

of the incident, the counselor said it didn’t have to be “an issue” (affecting Shank’s well-

being) unless she wanted it to be.26 Id. at 63-64.27

       SHAC personnel also failed to advise Shank about the alternatives they were

required to offer under Carleton’s existing policies, including, “at a minimum, of the


24
   C.App.466(259-60). Cathy Carlson, another associate student dean ultimately
appointed Shank’s sexual misconduct support (“SMS”) advisor, testified SHAC “should”
provide tokens and students “would not be talked out” of obtaining a token to get a rape
exam. S.App.198-200(50-52).
25
   C.App.35, 39-40(Shank 58, 75-78). That was dreadful advice. As Dr. Freyd testified,
when Shank finally met with Student One more than a year later, the results were
“disastrous.” S.App.14.03(115)(her advice was “don’t put these two people alone in a
room together”); infra (detailing meeting).
26
   Freyd Decl. Ex. 1 at 12, 16(opining that the SHAC counselor’s comments regarding
Shank’s response were evidence of two elements of institutional betrayal: “creating an
environment in which this type of experience seems common or normal” and “denying
[Shank’s] experience in some way”).
27
   The counselor subsequently submitted a community concern form (“CCF”) about
Shank: “First-year female drank at more than one party and ended up in a party in her
hall. She blacked out and has vague memories of sexual intercourse with a first-year
male that she recalls was drunk as well.” C.App.599; infra n.29 (defining CCFs).
Carleton’s SM Policy provided sexual intercourse with an incapacitated person (including
a person who blacked out) was sexual assault. C.App.558-59.
                                              9
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 10 of 43



options of criminal prosecution, medical assistance, the internal complaint process,

alternative housing assignments, confidential counseling, and academic assistance

alternatives.”28

       The foregoing demonstrates material fact disputes regarding whether Carleton

acted with deliberate indifference/disregard and negligence when, inter alia, refusing to

provide Shank with a token, discouraging her from obtaining a rape exam, minimizing

her immediate emotional reaction to the incident, and encouraging her to talk with

Student One.

       C.      Shortly after the First Rape, Carleton’s Personnel Ignore that Shank Was
               Cutting Herself and Struggling in Class.

       Carleton’s opening brief fast forwards from September 2011 to February 2012,

skipping over evidence of its deliberate indifference/disregard for Shank’s safety and

struggles during that period. In early October, someone submitted a CCF29 about an

unnamed student with apparently self-inflicted cuts on “their wrist,” who was identified

several days later as Shank.30 Thornton forwarded that CCF to Joe Baggot, the associate

Dean for Freshmen, Kaaren Williamsen, Carleton’s Deputy Title IX Coordinator, and

Joanne Mullen, Carleton’s Title IX Coordinator.31 Baggot testified he did not think he

ever followed up on this CCF because “cutting did not rise to a level for me to call the



28
   S.App.228, 232.
29
   A CCF is an “[o]nline form to inform the College of incidents of sexual misconduct or
other concerning behavior.” C.App.541.
30
   S.App.1-2.
31
   S.App.1. Mullen’s role was part-time. C.App.343(Sillanpa 61-62). She was also the
investigator in the Student One proceeding. Infra.
                                            10
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 11 of 43



student over to have a meeting about it.” C.App.105-06(42-47).

       On October 24, 2011, the Dean of Students’ Office sent an email to Shank stating

her professor had informed the Office she was struggling in math, and “Baggot, your

class dean, would like to meet with you to discuss your progress and identify resources

which may help you successfully pass the class.” S.App.237. Baggot testified he never

followed up or met with Shank about her struggles in math either. C.App.106-07(48-51).

       The foregoing evidence raises material fact disputes regarding whether Baggot or

any of the other deans’ failure to follow up with Shank after those warning signs

constitutes deliberate indifference/disregard, negligence and/or a failure to provide Shank

with academic accommodations.

       D.     Carleton’s Failure to Remove Posters of Student One Was Deliberately
              Indifferent to Shank’s Rights and Safety.

       After returning to campus following winter break of her freshman year, Shank saw

promotional Carleton track team posters around campus,32 including one of a half-naked

Student One with the headline “Carleton Track and Field.” C.App.44-45(95-97);

S.App.241(“Student One Poster”).”33 Copies of the Student One Poster were hung,

among other places, in stairwells at the entrance of Shank’s dormitory where she had to

walk if leaving or entering. C.App.45(97-98). The Student One Posters caused Shank to



32
   Williamsen testified that “[s]paces to post by any organization were available across
campus.” C.App.507(48). Carleton had in place a policy encouraging poster promotions,
S.App.238-40; that policy granted a license to hang unapproved posters and imposed a
commensurate duty on Carleton. S.App.238-40.
33
   When shown the Student One Poster, Thornton testified she was not surprised to see it
because “many [Carleton] teams do this.” C.App.430(117-18).
                                            11
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 12 of 43



become suicidal. C.App.44(96). She told several friends, the police were called, and

Shank was taken to the hospital on February 12, 2012. C.App.43-44(90-93).34

       Shank’s contemporaneous hospital records corroborate her testimony regarding

the posters: “she was raped while intoxicated with alcohol in September 2011, by

another student at the college and the student is living in the same dorm on the same floor

and he is also on the track and field team, and he has posters of him all over the school.”

S.App.3, 8.

       Shank returned to campus on February 15, 2012 and met with Baggot for the first

time the next day. C.App.593. Shank testified she told Baggot she had been raped by a

fellow student who lived on the same dormitory floor, was on an athletic team, and was

on a poster displayed around campus which “triggered the memories of the violence” and

caused her to feel trapped. C.App.47(106-07).

       Baggot did nothing about the posters;35 they were still hanging in Shank’s

dormitory when she moved in April. S.App.243-44(Shank ¶3).


34
   On the day Shank was hospitalized, another CCF was submitted indicating that Shank
“had a history of self harm and was involved in a sexual situation Fall term with another
student where there was sexual intercourse and no consent given.” S.App.242(CCF).
35
   As with most issues, Carleton blames Shank. It argues “[i]t is undisputed that Shank
did not ask Baggot to do anything about the posters,” D.M.4, as if that excuses anything.
Carleton’s argument is textbook willful blindness. It is obvious a woman would be
extremely upset by posters of her half-naked rapist displayed in locations where she was
forced to pass them. Shank told Baggot the posters “triggered the memories of the
violence” and that she felt “trapped,” C.App.47(106-07), clearly red flags. Carleton takes
refuge in its unfounded belief it was required to do little or nothing unless and until a rape
victim made a specific request. Carleton’s view of its obligations (or lack thereof) is
contrary to law as well as Carleton’s voluntary assumption of various duties to students,
including, inter alia, a duty to maintain a safe campus, infra n.39, and a duty to offer rape
victims options like alternative housing. Supra text accompanying n.28.
                                             12
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 13 of 43



       Baggot testified, however, he did not remember Shank telling him about the

posters and if she had, he would have remembered. C.App.111(66). After that first

meeting, Baggot prepared an email and a CCF stating Shank had been raped in the fall by

another student who was on a Carleton sports team and lived on the same dormitory

floor. C.App.647; C.App.593. Baggot’s email also reported Shank’s post-trauma

emotions had “recently…become more difficult for her.” C.App.647.

       Baggot’s email and CCF corroborate Shank’s testimony she had told him about

the poster. Shank’s mother also confirmed “there was had [sic] this poster [of Student

One] and [my daughter] told the dean about, Dean Baggot, because I know there’s

several deans, and it was upsetting her.” C.App.371(96).

       The Court should therefore deny Carleton’s motion on Shank’s claims based on

the poster.

       E.     Carleton’s Failure to Offer Shank Alternative Housing after Learning
              She Was Raped by a Fellow Dormitory Resident Demonstrates Carleton’s
              Deliberate Indifference/Disregard and Negligence.

       Baggot’s CCF, which was sent to Thornton and Mullen, clearly disclosed Shank

had been raped by another student living on the same dormitory floor. C.App.593.36 Yet

not one of those three, or anyone else from Carleton, ever informed Shank she was

entitled to “alternative housing assignments,”37 and thus could move away from Student


36
   Carleton contends “administrators were unable to identify the assailant based on the
limited information shared.” D.M.4. That is a classic jury question. Carleton also
ignores a contemporaneous CCF about the rape submitted after a report by another
student. S.App.242(CCF); n.34(quoting same). Thornton testified no one ever followed
up with that student to learn the assailant’s name. C.App.430(116).
37
   Supra (text accompanying n.28)(quoting policy requiring same).
                                           13
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 14 of 43



One and the scene of the rape.38 Baggot instead testified it was not within his “role” to

address the fact that Shank and her attacker were still living on the same dormitory

floor.39 C.App.40-41(80-81).

       Shank’s friend ultimately suggested Shank should ask to move, an option Shank

did not know was available. C.App.370-71(94-95). Shank moved in April 2012.40



38
   A jury could find Carleton’s failure to remove Student One (or Student Two, see infra)
from the same dormitory as Shank, standing alone, violated Title IX. E.g., Doe v.
Hamden Bd. of Educ., No. 3:06-CV-1680(PCD), 2008 WL 2113345, at *5 (D. Conn.
May 19, 2008)(denying summary judgment on Title IX claim based on school’s failure to
expel rapist because “[f]urther encounters, of any sort, between a rape victim and her
attacker could create an environment sufficiently hostile to deprive the victim of access to
educational opportunities provided to her at school”).
         Here, further encounters between Shank and the two rapists occurred because
Shank continued to live in the same buildings as both rapists. Doe v. Coventry Bd. of
Educ., 630 F. Supp. 2d 226, 236 (D. Conn. 2009)(reasonable jury could find school’s
“failure to provide [victim] with specific accommodations following [assailant’s] assault
of her was unreasonable,” including school’s failure to remove the assailant from the
school attended by victim); Kelly v. Yale Univ., No. 3:01-cv-1591, 2003 WL 1563424, at
*4 (D. Conn. Mar. 26, 2003)(denying summary judgment on Title IX claim where victim
alleged her school failed to provide her with residential and academic accommodations
following her assault).
39
   It is difficult to imagine whose role it would be if not that of the student deans.
Baggot’s disclaimer conflicts Carleton’s policies defining its duties to ensure its students’
health and safety. C.App.411(Thornton 39-40)(“one of [Carleton’s] policies is to provide
a safe campus for students”); C.App.557(SM Policy stating “Carleton…is committed to:
fostering an environment free of sexual assault…maintaining a response to sexual
misconduct that is comprehensive in scope, supportive in its approach, and fair in its
execution”); S.App.246, 251-52(8/29/12 memorandum from Carleton’s Sexual
Misconduct Committee providing “[i]n every complaint of sexual misconduct, the
college assesses the situation and makes accommodations, as appropriate, to ensure that
the complainant is safe and protected” and “not adversely affected);
C.App.547(Carleton’s SM Policy requires Carleton “[t]o provide a safe campus for
students”). Those policies clearly demonstrate Carleton’s voluntary assumption of duties
owed to Shank. Infra (discussing voluntary assumption).
40
   Carleton nonetheless takes full credit for Shank’s move: “Baggot found Shank a single
room in a different hall….” D.M.5. Carleton, however, ignored Shank’s safety and its
                                             14
    CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 15 of 43



       The undisputed evidence that Carleton never offered Shank alternative housing

upon learning her rapist lived on the same floor demonstrates Carleton’s deliberate

indifference/disregard of Shank’s rights and safety and its negligence.

       F.     Carleton’s Mishandling of the Process against Student One Demonstrates
              Carleton’s Deliberate Indifference/Disregard and Negligence.

              1.     Carleton’s SM Policy.

       Carleton’s SM Policy defined the procedures to address campus sexual

misconduct, including the complaint process “by which the College investigates and

adjudicates allegations of student-to-student sexual misconduct.”41 The process began

with the submission of a “complaint of sexual misconduct.”42 “Complainant” was

defined as “[a] person who makes a complaint of sexual misconduct.”43 Carleton’s

written procedures at the time did NOT permit Carleton to initiate the formal complaint

process, providing: “The Office of the Dean of Students will follow up on concerns but


own affirmative duties by waiting a number of months until Shank requested a move
before doing anything.
41
   C.App.563.
42
   C.App.563.
43
   C.App.562(emphasis added). Other definitions in Carleton’s SM Policy demonstrate
“person” means a human being, not an entity or institution. See id. (respondent is “[a]
person against whom a complaint of sexual misconduct is made”)(emphasis added); id.
(“complaint process coordinator” is “[a] person designated by the College to coordinate
the complaint process and talk with students who are considering pursuing the complaint
process”)(emphasis added); id. (witness is “[a]ny person who may have information
about the incident in question”)(emphasis added).
        Carleton nonetheless argues it was the “complainant,” thus deprived Shank of her
rights in the process. D.M.8. But Carleton failed to perform key tasks a complainant was
supposed to do, like never submitting a “written complaint” against Student One, never
submitting a written statement as complainant, C.App.440(Thornton 156-57), and never
having a Carleton employee attend the hearing as “complainant.” C.App.444(Thornton
172); C.App.319(Mullen 133-34). This is another material fact dispute.
                                            15
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 16 of 43



will not initiate the complaint process on behalf of a student.”44

       The SM Policy also described written statements the complainant and the

respondent were to prepare; the appointment of an investigator who would “meet with the

complainant(s) and respondent(s) to gather facts about the incident” and prepare a written

fact-finding summary, which was to be submitted to Carleton’s Community Board on

Sexual Misconduct (“CBSM”).45

       The CBSM hearing was to be conducted “to allow both the complainant and the

respondent the opportunity to present their experiences, discuss the investigative

summary, and to ask questions.”46

              2.     Shank Was Too Afraid to Submit a CCF but Shank’s Friend
                     Did.

       In April 2012, Shank learned Carleton had offered Student One a RA position for

the following academic year.47 Shank and others were extremely concerned,48 but Shank

was too afraid of Student One to file a CCF in her own name, so on April 19, 2012, a

friend submitted one naming Student One as the perpetrator of a rape.49

       On May 1, 2012, Carlson was appointed Shank’s SMS advisor.50




44
   C.App.562(emphasis added).
45
   C.App.563. The CBSM is: “the College board of faculty, staff, and students charged
with adjudicating complaints of student-to-student sexual misconduct.” C.App.564.
46
   S.App.254.
47
   C.App.58(Shank135-36).
48
   C.App.58-59(Shank 136-38).
49
   C.App.786(4/19/12 CCF); C.App.58-59(Shank 134-38; 140-41).
50
   S.App.255-56; C.App.142(61).
                                            16
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 17 of 43



             3.     Carleton Advised Shank in Writing about Shank’s Purported
                    Rights in the Process.

      On May 1, 2012, Sillanpa, Carleton’s sexual misconduct process coordinator, met

with Shank.51 Shank confirmed she was raped and had now come forward because

Carleton had offered Student One an RA position for the next year.52 Shank explained he

had also gotten “pushy” with another student.53 Carleton never bothered to follow up to

find out what happened to that second woman.54

      Shank said she was still deciding whether to bring a formal complaint, C.App.572,

a right belonging exclusively to Shank under Carleton’s policies.55

      Sillanpa reviewed and filled out with Shank Carleton’s “Student Sexual

Misconduct Complaint Process 1st Conversation Checklist” (the “Checklist”), which

outlined the process and Shank’s rights thereunder, indicating the goal was “to make the

complaint process as thorough as possible.”56 Sillanpa reviewed with Shank the items

Sillanpa marked on the Checklist, and both then signed it.57


51
   C.App.61(147); C.App.348(85-86).
52
   C.App.572(Sillanpa 5/1/12 email to Thornton and Mullen reporting same);
C.App.348(Sillanpa 85-86).
53
   C.App.572. That Shank was equating her rape with Student One’s treatment of another
student (“pushy too”) was clearly a red flag Carleton should have followed up on.
54
   C.App.309(Mullen 93).
55
   Carleton’s policies provided and witnesses confirmed the victim must be the one in
control of the sexual misconduct process. S.App.257, 303(policies);
C.App.432(Thornton 123-24); C.App.355(Sillanpa 117-18); C.App.216-17(Dunnewold
31-34).
56
   C.App.601-02(Checklist).
57
   C.App.433(129); C.App.602. Carleton argues Shank did not participate because she
“did not check any boxes indicating she was participating in the process.” D.M.6. Who
actually checked the boxes is irrelevant where it is undisputed that Shank signed the
form.
                                            17
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 18 of 43



       Shank’s rights on the Checklist included: (1) an investigation with an investigator

who gathered facts and would meet with the complainant and respondent; (2) a hearing

“to allow both the complainant and the respondent the opportunity to present their

experiences, discuss the investigative summary, and to ask questions”; and (3) an appeal

“contingent upon participation in the investigative and hearing process.”58

              4.     When Proceeding against Student One for its Own Interests,
                     Carleton Was Deliberately Indifferent to Shank’s Rights.

       On May 11, 2012, Carlson informed Sillanpa Shank was still deciding whether to

proceed and “definitely need[ed] space to make her decision.”59 But less than three

weeks later, Carleton held a hearing regarding Student One, infra (discussing hearing)

thereby wresting all control from Shank60 before she made any decision.61 Carleton

witnesses testified Carleton initiated the hearing process because Carleton wanted a


58
   C.App.601. Carleton argued that Shank had no appeal right because she did not
participate (not a “party”). D.M.11. But Carleton witnesses disagreed about what
“participation in the process” meant for purposes of an appeal, with Carlson testifying
Shank’s written statement constituted participation, C.App.151(99-100), while Thornton
claimed Shank did not participate because she never attended the hearing.
C.App.440(157-58). Back then, Carleton used Shank’s “nonparticipation” as justification
for denying her requests both to attend the hearing or appeal. C.App.68-69(Shank 175-
180). There is a material fact dispute about whether Shank wanted to attend the hearing.
       Carleton’s refusal to let Shank appeal because she was not the “complainant”
violated the Clery Act, under which the right to appeal belongs to the victim. 20 U.S.C.
§1092(f)(8)(B)(iv)(III)(bb)(colleges must have written procedures allowing “the accused
and the victim to appeal the results of the institutional disciplinary
proceeding”)(emphasis added).
59
   S.App.325(5/11/12 email from Carlson to Sillanpa).
60
   See n.55(victim must control process).
61
   C.App.439-40(Thornton 154-55); C.App.311-12(Mullen 104-05, 108)(Carleton had
decided to move forward by May 7th, and if Shank had asked at that point if she could
bring her own complaint in the fall 2012, Carleton would have said no); C.App.63(Shank
157).
                                            18
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 19 of 43



procedure to protect itself when taking away Student One’s RA position.62

       Contemporaneous emails confirm Carleton’s focus on its own interests to Shank’s

detriment. On May 1, 2012, after Sillanpa and Shank met and completed the Checklist,

Sillanpa sent an email to Thornton and Mullen making clear Sillanpa’s real concerns:

“Okay, now I’m freakin’ out… the potential respondent is someone we hired to be an RA

next year!!!!”63 On May 1, 2012, Mullen emailed Thornton: “I’d really like us to move

forward on this, if indeed [Shank] decides not to do anything and especially in light of the

RA situation.”64 Mullen also asked the others NOT to tell Shank that Carleton was

planning to move forward with or without Shank.65

       Carleton pressed ahead even though its witnesses conceded there was no need to

conduct a hearing so quickly.66 And without any written policy to address the situation,67

Carleton also decided to exclude Shank from any meaningful role in the process and was

thus deliberately indifferent to Shank’s rights.68 Indeed, Thornton admitted Carleton was


62
   C.App.142(Carlson 62); C.App.432(Thornton 124-25). Sokolow testified that Carleton
needed no procedure to do that, and he had taken away RA positions with no hearing “for
dozens of colleges.” S.App.685(Sokolow Dep. 100).
63
   C.App.572(5/1/12 Sillanpa email). Sillanpa’s “freakin’ out” exclamation makes sense
because she was responsible for the RA program and would have participated in offering
Student One a position. S.App.329; S.App.330-32; C.App331(Sillanpa 10).
64
   S.App.333-34.
65
   C.App.573. Carleton argues that it only “deferred telling Shank” about the hearing
because they wanted to let her decide whether to pursue a complaint. D.M.6. Carleton’s
rationalization is questionable because the hearing was held less than five weeks later.
That is a classic jury question.
66
   S.App.194(Carlson 27); C.App.548(training materials indicating no time limit for
victim may bring claim); C.App.434-35(Thornton 133-37).
67
   C.App.432(Thornton 123-24). Thornton confirmed Carleton at that time had no
written policy to address the situation. C.App.420(77-78).
68
   Carleton argues it was merely reacting to Shank’s indecision, D.M.6, ignoring its own
                                            19
    CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 20 of 43



“making it up” as it went along.69 Carleton never informed Shank of the rights Carleton

would (and did) take away if Shank did not file a complaint herself, including all the

rights on the Checklist. Supra.

       Carleton did insist on one thing from Shank: a written statement.70 But Carlson

submitted it to the CBSM knowing it was incomplete71

       There is other evidence of Carleton’s wrongdoing: Carlson, on her own initiative




admissions that victims needed time to process, C.App.511-12(Williamsen 66-67),
should have complete control of the procedure, see n.55, and regularly changed their
minds, C.App.223-24(Dunnewold 68-69), perhaps in two minutes, 24 hours, or years
later. C.App.408(Thornton 28-29).
69
   C.App.444(173-74).
70
   S.App.340(Mullen’s 5/14 notes of Carlson call indicating “[n]o matter what, [Shank]
needs to make a statement in writing”). Carleton takes aim at Shank for “purposefully”
removing from her statement “details she worried might get Student One expelled” and
arguing she did not want him suspended or expelled. D.M.8, 9 n.6, 27. Shank knew that
Student One would read her statement and she did not want to openly request his
expulsion because she was afraid of him. C.App.72(190)(testifying “the issue was him
knowing that I got him expelled”); C.App.65(163)(“I was afraid of him”);
C.App.67(170)(“what I wanted was for him to get expelled, but I didn’t want him to think
that I was the reason he got expelled…I didn’t want to have a target on my back”).
Moreover, Carlson had assured Shank that her draft already had enough information.
C.App.65(163-64); C.App.685; S.App.345(Mullen 5/21/12 email stating Shank’s
statement was “thorough and good job”). Shank thus thought she did not need to request
his expulsion in her statement (and risk his anger) because it was going to happen in any
event.
71
   C.App.679(5/18/12 Shank email to Carlson “[h]ere is what I have so far in terms of a
statement; I’m finding myself kind of stuck”); C.App.608(5/18/12 Carlson email to
Thornton and Mullen stating “Shank has submitted a draft of her statement.”);
S.App.346(5/21/12 email from Carlson to Thornton indicating that Shank might add
more to her statement “but I believe she is still processing”); S.App.347(5/21/2012
Carlson email to Shank stating “I have submitted your statement to Joann[e] Mullen as
is”). There is a material fact dispute about whether Carlson told Shank there was enough
information in Shank’s incomplete statement to get Student One removed from campus.
Compare C.App.143(Carlson 65) with C.App.65(Shank 163-64). Carleton’s counsel
conceded this fact dispute. See infra.
                                            20
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 21 of 43



and without the requisite expertise,72 suggested to the CBSM panel that Shank wanted a

“mediated conversation” with Student One (Carlson’s idea, not Shank’s);73 Mullen, the

investigator, never bothered to interview Shank;74 Carleton did not let Shank see Student

One’s written statement before or after the hearing;75 Carleton refused to allow Shank to

participate in the hearing,76 to appeal or to appeal itself on her behalf;77 failed to sanction

Student One by suspending or expelling him as they had other students who had violated

the SM Policy in the same way;78 refused to disclose all of the sanctions to Shank;79




72
   C.App.515(Williamsen 89-90); infra (discussing Carlson’s inexperience in greater
detail).
73
   C.App.154-55(Carlson 111-13); C.App.688-89(Carlson’s submission to the CBSM).
Although Carleton’s counsel claims this issue is a fact dispute, infra, it is not.
CARLSON readily admitted the “mediated conversation” was HER idea.
C.App.154(Carlson 113).
74
   C.App.312(Mullen 106).
75
   C.App.68-69(175-78); S.App.348-49 (emails indicating Carleton would not allow
Shank to see Student One’s statement). Student One was allowed to review and respond
to Shank’s written statement. C.App.314(Mullen 114). Wagner testified, however, that
Shank was entitled to read Student One’s statement under Carleton’s SM Policy.
C.App.493(Wagner 119); C.App.151, 156(Carlson 100, 118-19). If Shank had been
allowed to see Student One’s outright denials, she would have provided greater detail
regarding the circumstances of the rape and its violence. C.App.68(175-77).
76
   C.App.68(Shank 176).
77
   S.App.350-51; n.58(victim has appeal right under the Clery Act).
78
   Carlson testified Student One’s sanctions were not commensurate with those of other
students with similar violations. C.App.152(103-04); S.App.352(Carleton 2012 report
revealing the suspension of two other students who had violated Carleton’s SM Policy
during the same time frame as Student One).
79
   C.App.313(Mullen 110-12)(Shank could not be told all the sanctions). Carleton used
its mistaken refusal to ultimately force Shank into the terrible one-on-one meeting with
Student One. See infra. Carleton argues that it was its practice to share with the victim
only those sanctions which directly related to the victim. D.M.13 n.8. Carleton,
however, was legally required to disclose the sanctions and violated those requirements.
See n.108.
                                              21
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 22 of 43



failed to enforce some of the sanctions against Student One;80 and failed to issue Student

One’s written no-contact order for more than four months after the hearing.81

       The foregoing illustrates material fact disputes regarding Carleton’s deliberate

indifference/disregard of Shank’s rights and safety and its negligence. Indeed, then Dean

of Students Wagner testified Carleton should have allowed Shank to participate in the

process. C.App.493(118-19).82

       On May 30, 2012, the panel held Student One’s hearing and determined he

violated Carleton’s SM Policy. C.App.575. The panel neither suspended nor expelled

Student One. Id. Carlson admitted Student One should have been suspended like other

students found to have committed sexual assault.83

       The panel instead took away Student One’s RA position (accomplishing

Carleton’s goal) and imposed other minor sanctions. C.App.575. By letter dated May

31, 2012, Carleton informed Student One of the sanctions and warned him: “[f]ailure to

comply with all the above conditions may result in suspension.” C.App.576.

       Carleton’s wrongdoing deprived the CBSM of critical information on which to




80
   One sanction required Student One to attend a minimum of two counseling sessions
each month during the summer. C.App.575(sanctions). Carleton knew he only attended
one session but did nothing in response to this violation. S.App.356, 357; cf.
C.App.438(Thornton 150)(testifying Carleton did not “police” Student One’s compliance
with alcohol prohibition).
81
   C.App.634.
82
   Wagner was unaware of those events at the time because she handled all appeals and
thus was walled off from the underlying process against Student One. C.App.480, 483
(66-67, 80).
83
   C.App.152(Carlson 104).
                                            22
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 23 of 43



make an appropriate sanctions decision.84 The CBSM never learned about the violence

of the first rape (because of Shank’s incomplete statement and Mullen’s failure to

investigate) or that Student One had gotten aggressive with another woman, as Shank had

earlier disclosed to Sillanpa.85

       In his interview with Mullen, Student One also disclosed he awoke the morning

after the rape to find blood on his fingers.86 Despite this, no one followed up with Shank

or did anything else to learn the reason for the blood.87 Carlson testified, however, that if

she had known how violent Student One’s rape was, Carlson would have insisted Shank

participate in the process because that information “changed it from a he-said/she-said

first-time encounter with sex and alcohol to a violent, almost premeditated rape, and

that’s very different to me.”88

       Indeed, when Wagner learned in 2015 about the violence of the first rape, she

testified: “thinking about just [Shank’s] fear and responding to…this articulation that

having him on campus was impacting her psychologically, was frightening.”89


84
   Carlson testified that if the CBSM had known how violent the rape was, the outcome
would have been different. C.App.171(177-78).
85
   See C.App.572. It was particularly egregious that no one bothered to inquire about that
second woman, supra nn.51-53 & accompanying text, or even inform the panel of her
existence.
86
   C.App.611-12(Mullen’s summary of her interview with Student One, submitted to the
CBSM but never shown to Shank).
87
   Those facts show violations of Carleton’s policies to ensure the health and safety of its
students. Supra n.39(quoting Carleton’s policies requiring same). Thornton confirmed
that “one of [Carleton’s] policies is to provide a safe campus for students.”
C.App.411(39-40).
88
   S.App.227(178).
89
   C.App.487(94). In 2015, after learning of the violence, Wagner reinstated the no-
contact order. S.App.370. When Student One complained, his SMS advisor informed
                                             23
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 24 of 43



IV.    CARLETON WAS DELIBERATELY INDIFFERENT TO SHANK’S
       RIGHTS AND SAFETY BY FORCING THE SO-CALLED “MEDIATED”
       MEETING.

       The meeting between Shank and Student One on October 15, 2012 is a particularly

blatant example of Carleton’s deliberate indifference/disregard for Shank’s rights and

safety. Judge Schiltz called out the meeting as an allegation that, if true, demonstrated

Carleton acted with deliberate indifference sufficient to support Shank’s Title IX claim.90

       A.     The Panel Ordered the Meeting as a Sanction for Student One Because
              Carlson Misled It.

       In May 2012, Shank expressed her wish for “closure” during meetings with

Carlson before the hearing for Student One.91 Carlson admitted she then came up with

the notion this “closure” could be achieved if Shank met with Student One.92 Carlson

thus informed the CBSM (without Shank’s knowledge or permission) that closure “could

be in the form of a mediated conversation between [them] concerning the nature of future

interactions at Carleton.”93


him: “[t]o be honest, cases like yours have been subjected to the criminal justice
system….To be frank, our goal is to get you graduated and moved forward….”
S.App.371.
90
   Shank, 232 F. Supp. 3d at 1110. Judge Schiltz also ruled the allegation sufficient to
support Shank’s IIED claim. Id. at 1114.
91
   C.App.153-54(Carlson 108-09).
92
   C.App.154-55(Carlson 111-14). Although Carleton argues the meeting was Shank’s
idea, D.M.13-14, Carlson clearly testified it was HER idea Shank could obtain “closure”
by meeting with Student One. C.App.155(113:1-10). Shank testified consistently with
Carlson. C.App.68(174).
93
   C.App.688-89(materials Carlson submitted to CBSM). Carleton argues Shank agreed
to the mediated conversation because Shank never corrected Carlson’s statement to the
CBSM. D.M.10. The DCL made clear, however, that such meetings are not appropriate
in sexual assault cases even if voluntary. See supra. The Court should thus reject this
argument.
                                            24
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 25 of 43



       Mediated conversations, however, should not be used in cases of sexual assault.

The April 4, 2011 “Dear Colleague Letter” from the Civil Rights Office of the U.S.

Department of Education (“DCL”) provided: “it is improper for a student who complains

of harassment (this includes sexual assault and rape) to be required to work out the

problem directly with the alleged perpetrator.”94 In cases of sexual assault, such a

meeting “is not appropriate even on a voluntary basis.”95

       Moreover, Carlson was not qualified to suggest a mediated conversation in the

first place.96 Carlson admitted that before Shank, Carlson had never seen a mediated

conversation used in sexual assault cases, just for matters like roommate disputes.97 And

no one personally involved in the process against Student One was trained to facilitate a

restorative justice process. At that time, Williamsen was the only Carleton employee

qualified and she was neither consulted nor played any other role in the events leading up

to the meeting between Shank and Student One. 98




94
   S.App.413, 420(DCL); accord Koss Decl. Ex. 1 at 9-12.
95
   S.App.420(DCL)(emphasis added). Restorative justice should thus not be used in
sexual assault cases. Even in appropriate situations, a mediated conversation should not
be conducted in private, even if requested by one or both participants. An unmoderated
meeting is not considered a safe or accepted practice, S.App.570-71(Koss Dep. 96-97),
which would be even more true in sexual assault cases.
96
   S.App.436, 440(Koss Dep. at 96, 106)(Shank expert witness testifying that in her
opinion, Carlson lacked necessary training to advise sexual assault victims).
97
   C.App.154(111-12); C.App.447(Thornton 184-85)(same). Williamsen, the only one
qualified in restorative justice, testified she had never been involved in the use of a
mediated conversation when a student had been found to be in violation of Carleton’s SM
Policy. C.App.518(108-10).
98
   C.App.515(Williamsen 89-90).
                                            25
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 26 of 43



       Despite the foregoing, the CBSM, mistakenly believing the idea was Shank’s,99

imposed a mediated conversation with Shank as one of Student One’s sanctions.100

Carleton then coerced Shank to meet with Student One.

       B.     Carleton Coerced Shank into Meeting with Student One.

       In early October 2012, Shank learned Carleton had suspended two other students

who violated the SM Policy in the same way as Student One after reading Carleton’s

spring 2012 Report on Sexual Misconduct (the “Report”).101

       Shank was extremely upset by the unequal sanctions102 and that she kept seeing

Student One around campus (which she did not understand because of the no-contact

order).103 Shank, for her safety and peace of mind, desperately wanted to learn about all

the other sanctions104 because Mullen had told Shank’s mother that if Student One

violated even one sanction, he would be “out.”105



99
   Virtually everyone involved believed–incorrectly–that the idea was Shank’s.
C.App.447(Thornton at 183-84); C.App.317(Mullen 126-28). Such meetings are NOT
appropriate even if the victim wants one. Supra nn.94-95 & accompanying text.
100
    S.App.441-42(10/4/12 email from Thornton to Shank indicating same).
101
    S.App.352(Report).
102
    S.App.447(Shank email); S.App.448(10/3/12 email from Vickie Shank to Mullen
indicating the Shanks’ anger about the Report, the disparate sanctions, and Carleton’s
refusal to appeal). A college’s failure to sanction appropriately is one indicia of
deliberate indifference. E.g., S.S. v. Alexander, 177 P.3d 724, 739 (Wash. Ct. App.
2008)(reversing summary judgment on Title IX claim and collecting cases holding an
institution’s “failure to meaningfully and appropriately discipline the student-harasser is
frequently seen as an indication of deliberate indifference”).
103
    The no-contact order was one of the few sanctions Carleton told Shank about.
C.App.72(Shank 192-93); C.App.383-84(V. Shank 150-51).
104
    C.App.73-74(Shank 195-98).
105
    C.App.381(V. Shank 140-42)(testifying Mullen said “one violation and, quote, he
would be out”); C.App.796(Mullen memorandum confirming same).
                                             26
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 27 of 43



       On October 5, 2012, Shank met with Thornton to learn about the sanctions and

why she kept seeing Student One.106 The college had just issued Student One’s written

no-contact order the day before,107 more than four months after the hearing.

       Thornton also claimed the only way Shank could learn about the other sanctions

was to meet with Student One because federal law prohibited Carleton from disclosing

them.108 Shank was desperate to have Student One removed from campus,109 and

believed he would be expelled if he violated a sanction (relying on Mullen’s statement to

Shank’s mother, supra).110 Shank was thus coerced into the meeting.111


106
    C.App.73-74(Shank 195-99); C.App.384(V. Shank 153-54).
107
    C.App.634-35(10/4/12 email from Thornton to Student One with attached no-contact
order).
108
    C.App.74(Shank 199-200); C.App.702(Thornton email telling Shank Carleton was
prohibited from disclosing sanctions because it must “protect his private student record”).
THAT IS FALSE. The law requires such disclosure, 20 U.S.C.
§1092(f)(8)(B)(iv)(III)(aa), and provides such disclosures do not violate FERPA. 34
C.F.R. §668.46(k)(3)(iv); id. §668.46(l).
109
    Running into Student One after returning for her sophomore year convinced Shank she
could not function on campus if he were there too. C.App.73(Shank 197-99). Not
surprisingly, on September 22nd, a CCF was submitted indicating Shank was “unstable”
and “exhibiting troubling behavior.” C.App.669(9/22/12 CCF). Carlson met with Shank
about this CCF on September 24th. C.App.700.
110
    C.App.73-76(Shank 197-98, 205-06); C.App.381(V. Shank 140-42);
C.App.164(Carlson149-50). Thornton also told Shank Student One was remorseful.
C.App.74(Shank Dep. 199-200).
111
    C.App.75-76(Shank 205-06). Carleton blames Shank for the meeting because Shank
wrote up guidelines for it and her therapist and mother discouraged it. D.M.13. Carleton
ignores its own involvement in pushing the meeting. S.App.443(Carlson 10/10/12 email
to Student One stating “[your SMS advisor] and I are supportive of this idea and are
willing to assist”). Shank thus trusted the wrong people, the two Carleton folks pushing
it, Thornton and Carlson, C.App.75(Shank 205), rather than her mother and therapist.
Such trust in the institution is a cornerstone of institutional betrayal. Jennifer Freyd &
Pamela Birrell, Blind to Betrayal 38-40 (2013).
        Carleton also violated key principals of restorative justice, thereby creating a
“dangerous” situation, for example, by having Shank prepare guidelines, by failing to
                                            27
    CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 28 of 43



       C.     The “Disastrous” Meeting.

       On October 15, 2012, Shank met with Student One in Thornton’s office.112

Thornton was not present, but Carlson was in the next office.113 The meeting with

Student One was terrifying and disastrous for Shank.114 Shank froze, as she had during

the rape, and was unable to knock on the office wall to summon Carlson.115

       Student One neither apologized nor expressed any remorse, instead telling Shank

how hard it was on him and how angry he was with her.116 He pressured Shank to agree

to lift the no-contact order. 117 Shank was terrified, so she agreed and left a post-it note

on Thornton’s desk indicating the order could be lifted.118

       No one from Carleton ever bothered to follow up to ask Shank why she had agreed




meet with and prepare Student One before he actually met with Shank, S.App.573(Koss
Dep. at 99); by failing to take into account Shank’s extremely fragile condition at that
point, id. (“that’s an absolute no-no”); and the absence of a moderator, id. 570-71(96-
97)(a “dangerous process”), all misconduct which clearly contributed to the “disastrous”
meeting. Supra n.25(quoting Dr. Freyd); infra n.141 & accompanying text(9/22/12 CCF
disclosing Shank’s horrible condition). On this record it is for the jury to determine the
issue of coercion.
112
    C.App.76(Shank 207).
113
    C.App.76(Shank 207-08); C.App.164(Carlson 149-50).
114
    C.App.76(Shank 208-09).
115
    C.App.76(Shank 207-08). Carleton’s sexual misconduct training materials
acknowledged common responses to sexual assault:
        ‘Freezing’ during a traumatic event is common
        •Not fighting back
        •Not saying ‘no’
        •Disassociation
S.App.257, 299(emphasis in original).
116
    C.App.76(Shank 208-09).
117
    C.App.76(id.).
118
    C.App.76(id. 207-09).
                                              28
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 29 of 43



to this or whether the action was in her best interests.119 Thornton merely responded by

stating that lifting the no-contact order was “a very easy thing to do.”120

       Ironically, after refusing to allow Shank any control regarding the hearing,

Carleton now gave her complete and unquestioned control over the elimination of the

principal sanction imposed on her assailant.

       Shank thereafter felt even more threatened, terrified she might run into Student

One any time any place on the campus.121 Shank did run into him throughout her

remaining tenure at Carleton, and as a result, routinely stayed away from her classes

because she could not bear seeing him.122

V.     CARLETON WAS DELIBERATELY INDIFFERENT TO SHANK’S
       RIGHTS AND WAS NEGLIGENT AFTER THE SECOND RAPE.

       On April 6, 2013, Shank, now a sophomore, was raped by Student Two, a senior

student living in Shank’s dormitory.123 On April 24, 2013, Shank and three other female

students submitted CCFs about Student Two.124 Shank reported Student Two had raped

her, and all four students reported Student Two was “preying on” other female students



119
    C.App.456(Thornton 221); C.App.166(Carlson 158-60).
120
    S.App.449(10/16/12 Thornton email). Carleton’s complete lack of follow up is again
consistent but troubling. C.App.393(V. Shank 189-90).
121
    C.App.92-93(Shank 271-74).
122
    C.App.77, 92-93(Shank 211, 271-74); S.App.245(3/6/15 incident report explaining
Shank’s avoidance of classes to avoid Student One). This is prime evidence of Shank’s
unequal access to educational opportunities. See infra (discussing same). Carleton argues
Shank was “hanging out” with Student One years later. D.M.34 n.16. That is not true.
The Facebook messages Carleton cites demonstrate just the opposite. C.App.864(“I
don’t like WANT to go hang out with [Student One]”).
123
    C.App.77(Shank 211-12).
124
    S.App.450-57(Dep. Ex. 203)(students’ CCFs and related emails).
                                               29
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 30 of 43



who were vulnerable after drinking.125 Carlson submitted a CCF confirming the four

women had reported Student Two was “preying on vulnerable women.”126 Carlson also

emailed the four women, claiming that “[t]he college takes these situations seriously.”127

       Despite Carlson’s claim, Carleton did little about Student Two, issuing a no-

contact order pertaining to the four students who filed CCFs, and having Baggot speak to

Student Two.128 But Carlson told Shank not to file a formal complaint because Student

Two was graduating in two months and Carleton could not do anything else.129

       Carlson told Shank to focus instead on her school work because Shank was in

danger of academic suspension,130 and if Shank could not handle staying on campus with

Student Two there, she should take medical leave or change to an easier major.131

Carlson’s suggestion that Shank should leave school rather than having Carleton take

steps to remove Student Two is sufficient, standing alone, to demonstrate Carleton’s

deliberate indifference.132


125
     S.App.450-54.
126
     S.App.454-55(Carlson’s CCF).
127
     S.App.456(Carlson 4/25/13 email).
128
     S.App.455-56.
129
     C.App.79(Shank 220-21). There is a material disputed fact about whether Carlson
told Shank this. Carleton also minimizes the second rape and argues Shank did not want
anything to happen to Student Two. D.M.16. That is neither true nor the standard by
which Carleton must respond to sexual assaults.
130
     There are numerous other examples of Carleton’s deliberate indifference/disregard of
Shank’s rights and safety in the academic arena as well as its failure to make other
accommodations required by the ADA. Some of those examples are set forth infra, in the
discussion of Shank’s ADA claim.
131
     C.App.79(Shank 220-21).
132
    E.g., Doe v. Dallas Indep. Sch. Dist., No. 3:01-CV-1092, 2002 WL 1592694, at *6
(N.D. Tex. July 16, 2002)(denying motion to dismiss Title IX claim because the school
separated victim from assailant by barring victim, not assailant, from gym class).
                                            30
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 31 of 43



                                LEGAL ARGUMENT

I.    CARLETON’S COUNSEL CONCEDED FACT DISPUTES.

      Carleton’s counsel admitted fact disputes in several areas. For example, he noted

fact disputes between Shank’s and Carlson’s testimonies regarding the process Carleton

commenced against Student One, including: to what extent Shank wanted to be involved

in the hearing, S.App.848-49(Freyd Dep. 88-89); whether Shank had been barred from

participating in the hearing or appealing, S.App.680-81, 707(Sokolow Dep. 95-96, 122);

whether Carlson told Shank that her incomplete statement was sufficient to get Student

One removed from campus, S.App.851(Freyd Dep. 91); and whether Shank “disclosed

any aspect of violence in connection” with the rape by Student One. S.App.564(Koss

Dep. 90).

      Carleton’s counsel also admitted (in depositions and at the hearing on Shank’s

motion to amend to add punitive damages) a fact dispute regarding whether it was Shank

or Carlson who requested a mediated conversation. 9/11/18 Hearing Tr. at 35;

S.App.712(Sokolow Dep. 127)(counsel claiming “considerable fact dispute”).

      Carleton’s counsel further admitted there were factual disputes about Carleton’s

response to the report of a sexual assault by Student Two. S.App.678-79(Sokolow Dep.

93-94)(counsel identifying fact dispute about whether Carlson discouraged Shank from

coming forward and pursuing a formal process against Student Two); S.App.718-19




Carleton’s decision to permit Student One to attend graduation even though Shank had
informed them she could not bear to attend if he did, C.App.91-92(Shank 269-70), is
another example of Carleton’s deliberate indifference/disregard in this area.
                                           31
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 32 of 43



(Sokolow Dep. 133-34)(counsel noting “strong dispute” regarding evidence that Carlson

told Shank not to file a complaint against Student Two because he was about to

graduate).

       Counsel’s admissions, standing alone, preclude the grant of summary judgment.

II.    THE COURT SHOULD DENY SUMMARY JUDGMENT ON SHANK’S
       TITLE IX CLAIM.

       Judge Schiltz summarized Shank’s Title IX allegations as follows:

       Shank alleges that Carleton failed to advise her of her procedural and
       substantive rights; wrongfully denied her the ability to participate in the
       adjudicatory hearing against Student One; discouraged her from pursuing a
       formal complaint against Student Two; took only minimal action against
       her assailants; coerced her into a one-on-one meeting with Student One
       (who then took the opportunity to pressure her into lifting the only sanction
       of which she was aware); and did not even enforce the minimal sanctions
       that it had imposed.

Shank, 232 F. Supp. 3d at 1110.133 Judge Schiltz held that the foregoing allegations, if

true, demonstrated Carleton’s deliberate indifference sufficient to support Shank’s Title

IX claim. Id. Substantial evidence proves that these, and other allegations, are true:134

       1.     Its refusal to provide Shank with a token to a local hospital to get a
              rape examination, discouragement of Shank from obtaining a rape
              exam, minimization of Shank’s immediate emotional reaction to the
              incident, failure to advise Shank about housing alternatives, and
              suggestion that she talk to the assailant;

       2.     Its failure to follow up with Shank after receiving several warning
              signs about her between September 2011 and February 2012;

       3.     Its failure to remove the Student One Posters after Shank explained

133
    The Court’s summary of the allegations quoted above also applies to Shank’s
negligence claim. Shank, 232 F. Supp. 3d at 1110.
134
    Carleton is left laying out its own version of these material facts, thus showing beyond
a doubt there are material fact disputes precluding the relief it seeks.
                                            32
CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 33 of 43



       they made her feel suicidal;

 4.    The undisputed evidence that Carleton never offered Shank
       alternative housing upon learning Student One lived on the same
       floor;

 5.    Its initiation of the hearing against Student One for its own reasons
       while it knew Shank was still deciding, thus preempting her right to
       do so, coupled with its complete failure to advise Shank about the
       rights Carleton (unnecessarily) took away as a result of its hurried,
       unilateral decision;

 6.    Its investigation misconduct, including the investigator’s failure to
       interview Shank, the lack of further investigation regarding the
       report of Student One’s pushiness with another woman or the blood
       on his hand, and the refusal to allow Shank to see Student One’s
       written statement;

 7.    Its knowing submission of and reliance on Shank’s incomplete
       written statement;

 8.    Its refusal to disclose all of Student One’s sanctions to Shank,
       explaining to her, incorrectly, that such disclosure was barred by
       law, when the law actually required it;

 9.    Its refusal to appeal or allow Shank or her family to appeal, the
       minimal sanctions imposed on Student One;

 10.   Its refusal to enforce Student One’s sanctions;

 11.   Its delay in issuing a written, no-contact order against Student One
       for more than four months after the hearing;

 12.   Its imposition of a sanction on Student One requiring him to have a
       mediated conversation with Shank;

 13.   Its coercion of Shank into meeting with Student One by telling her
       the only way Shank could learn about his other sanctions was to
       meet with him, which, as Judge Schiltz noted, resulted in Student
       One pressuring her into lifting the no-contact order;

 14.   Its failure to suspend or expel Student One or Student Two or even

                                      33
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 34 of 43



              to move them from the same dorm; and

       15.    Its refusal to take any other meaningful action against Student Two
              because he was graduating in several months.135

       This evidence supports a denial of Carleton’s summary judgment motion on

Shank’s Title IX claim. E.g., Doe v. Coventry Bd. of Educ., 630 F. Supp. 2d 226, 233 (D.

Conn. 2009)(denying summary judgment on Title IX claim because the “mere fact that

[victim and attacker] attended school together [after the attack] could be found to

constitute pervasive, severe, and objectively offensive harassment so as to deny [victim]

equal access to school resources and opportunities”); Takla v. Regents, No. 2:15-cv-

04418-CAS(SHx), 2015 WL 6755190, at *6 (C.D. Cal. Nov. 2, 2015)(finding plaintiff’s

assertions that the university discouraged plaintiff from requesting a formal investigation,

violated its own policy in its proceeding against the assailant, failed to provide plaintiff

with a formal investigation report or written outcome of the proceeding, and took other

actions in violation of its own policies, taken as a whole, sufficiently alleged deliberate

indifference); Lilah R. v. Smith, No. C 11-01860 MEJ, 2011 WL 2976805, at *5-6 (N.D.

Cal. July 22, 2011)(denying motion to dismiss Title IX claim based on school district’s

denial of deliberate indifference, despite plaintiff’s concessions that the district

investigated her claim, put counselor who sexually harassed her on leave during the

investigation, found counselor engaged in inappropriate conduct, considered plaintiff’s

appeals and took some steps to limit her contact with the counselor, because plaintiff also



135
   Many of these facts also demonstrate Carleton’s “institutional betrayal” of Shank.
Freyd Decl. Ex. 1 at 12-18.
                                              34
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 35 of 43



alleged the investigation took longer than the time permitted under the district’s policy,

the district failed to inform student of the steps it would take to limit counselor’s future

contact in its letter notifying her of the investigation’s outcome, and it also failed to take

adequate steps to limit or prevent any future contact by refusing to transfer or fire

counselor but instead merely assigning him to a different floor of the school); Hamden

Bd. of Educ., 2008 WL 2113345, at *5 (denying summary judgment on Title IX claim

because school did not expel rapist and additional encounters with victim could deprive

her of access to educational opportunities).

       These cases undermine Carleton’s argument that its deliberate

indifference/disregard did not deprive Shank of access to educational opportunities.

D.M.27-28. “[E]ven a single incident of rape is sufficient to establish that a [victim] was

subjected to severe, pervasive, and objectively offensive sexual harassment for purposes

of Title IX.” Lopez v. Metro. Gov’t, 646 F. Supp. 2d 891, 913 (M.D. Tenn. 2009).136

       Carleton also argues that Shank’s Title IX claim fails because she is not entitled to

any particular remedial measure. D.M.23-24. The Court should first reject that argument

because Judge Schiltz has already established the allegations about remedial measures (or

lack thereof) that, if true, would demonstrate Carleton’s deliberate indifference/disregard.

Shank, 232 F. Supp. 3d at 1110.

       Moreover, although victims may not be entitled to a particular remedy, courts have



  Courts have also “found that when otherwise non-actionable conduct follows an act of
136

sexual assault, such conduct increases in severity.” S.G. v. Rockford Bd. of Educ., No. 08
C 50038, 2008 WL 5070334, at *3 (N.D. Ill. Nov. 24, 2008).

                                               35
       CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 36 of 43



routinely found a minimal sanction and/or the failure to remove a rapist from a campus or

school is evidence of deliberate indifference. Doe v. Derby Bd. of Educ., 451 F. Supp. 2d

438, 444 (D. Conn. 2006)(denying summary judgment on Title IX claim because a

reasonable jury could conclude that allowing assailant “to continue attending school in

the same building as [the victim] after the assault, leaving open the constant potential for

interactions between them” constituted “severe, pervasive, and objectively offensive”

harassment); S.S. v. Alexander, 177 P.3d 724, 739 (Wash. Ct. App. 2008)(reversing

summary judgment on Title IX claim and collecting cases holding institution’s “failure to

meaningfully and appropriately discipline the student-harasser is frequently seen as an

indication of deliberate indifference”); C.S. v. S. Columbia Sch. Dist., No. 4:12-CV-1013,

2013 WL 2371413, at *10 (M.D. Pa. May 21, 2013)(school “had a remedial duty under

Title IX to take some action to try to prevent further harassment”); see cases cited supra

(Hamden, Kelly).

        The Court should thus deny summary judgment on Shank’s Title IX claim.

III.    THE COURT SHOULD DENY SUMMARY JUDGMENT ON SHANK’S
        NEGLIGENCE CLAIM.

        Judge Schiltz, when declining to dismiss Shank’s negligence claim, noted that

claim included allegations regarding Carleton’s “negligently responding to the rapes.”

Shank, 232 F. Supp. 3d at 1111. The topics listed above regarding Carleton’s deliberate

indifference responding to Shank’s rapes also support Shank’s claim that Carleton was

negligent in its responses.

        Sokolow testified regarding many of those issues including:


                                             36
    CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 37 of 43



       •   Carleton should have left Shank alone and not conducted a formal hearing
           process against Student One and its conduct of the process did not meet
           industry standards. S.App.693(108).

       •   Carleton worked through way too many administrators in dealing with the
           rapes. The standard of care is clear and requires one person with Title IX
           responsibilities should have overseen and dealt directly with the rapes.
           S.App.705-07(120-22).

       •   It was improper for Carleton to facilitate the one-on-one meeting as it did.
           S.App.709(124).

       •   Carleton did not act within the standard of reasonable care after receipt of the
           Jueds Report (addressing Carleton’s wide-spread condonation of underage
           drinking). S.App.733-34(148-49).

       Carleton contends the claim fails because it is not responsible for the conduct of

third parties and Shank’s harm was not foreseeable. D.M.30-33. As to third parties, this

Court recently recognized that “colleges of today…are expected to ensure a healthy and

safe living environment.” Doe v. University of St. Thomas, No. 16-1127, 2019 WL

802740, at *5 (D. Minn. Feb. 21, 2019). Various Carleton witnesses testified, and

Carleton policies make clear, that Carleton voluntarily assumed the duties to keep its

students safe and to provide sexual assault victims with various accommodations and

specific rights in a process as detailed above. Supra nn.28, 39, 41-46 & accompanying

text to those notes.

       Carleton also owed Shank duties as a result of the “unique relationship” between a

college and its students. University of St. Thomas, 2019 WL 802740, at *5 (holding that

because of “unique relationship” between private university and its students, the

university owed a common law “duty of reasonable care” to its students); Mullins v. Pine

Manor College, 449 N.E.2d 331, 336 (Mass. 1983)(affirming jury verdict in favor of
                                             37
    CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 38 of 43



student raped on campus by a third party because college, in exchange for tuition,

voluntarily assumed the duty to protect its students as “an indispensable part of the

bundle of services which colleges . . . afford their students” and “a duty voluntarily

assumed must be performed with due care”).

       As to foreseeability of harm, courts have routinely held rape is foreseeable when it

occurs as here, i.e., in dorm rooms on campus. E.g., Brown v. Delta Tau Delta, 118 A.3d

789, 793 (Me. 2015)(“Over a decade ago, we recognized that sexual assaults could

foreseeably occur in a dormitory room on a college campus.”); Stanton v. Univ. of Me.

Sys., 773 A.2d 1045, 1049-50 (Me. 2001)(reversing summary judgment that was based

on finding college owed no duty because “a duty founded on premises liability exists

between a student and a college” where fraternity member sexually assaulted student in

her dormitory room after he walked her back there after meeting her at a frat party).

       Carleton’s arguments also ignore the fact that Shank’s overarching negligence

claim is that Carleton is liable FOR ITS OWN CONDUCT and that conduct directly

caused Shank’s serious, long-lasting harm, including both emotional and physical

injuries. Judge Schiltz’s opinion, however, principally discussed a negligent infliction of

emotional distress claim based on Carleton’s response to the rapes, Shank, 232 F. Supp.

3d at 1111, and volunteered, but did not hold (because he noted the issue was not before

him) that the law might require more than emotional injury. Id.

       Carleton thus argues Shank’s negligent infliction of emotional distress claim fails

because Carleton neither inflicted nor risked inflicting physical injuries on Shank because

it issued no-contact orders. D.M.33-34. Carleton ignores evidence the no-contact orders

                                             38
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 39 of 43



were ineffective137 and that its own actions in coercing Shank into meeting with Student

One resulted in the lifting of his no-contact order only two weeks after it was finally

issued. Supra. Issuing a no-contact order against Student Two while Shank was still

living in the same dormitory was but a meaningless gesture.

       Carleton also ignores evidence showing Shank suffered substantial mental,

physical and emotional harm as a result of its own negligence.138 Cf. K.A.C. v. Benson,

527 N.W.2d 553, 558 (Minn. 1995)(“cases permitting recovery for negligent infliction of

emotional distress are characterized by a reasonable anxiety arising in the plaintiff, with

attendant physical manifestation, from being in a situation where it was abundantly clear

that plaintiff was in grave personal peril”).

       Moreover, Shank’s negligence claim is much broader than a negligent infliction

claim, and that broader claim is viable in these circumstances. See University of St.

Thomas, 2019 WL 802740, at *5 (holding university owed student duty of due care even

though student had not alleged any physical harm). Courts and the Restatement provide

there is liability for emotional harm in cases like this, where the conduct “occurs in the

course of specified categories of activities, undertakings, or relationships in which

negligent conduct is especially likely to cause serious emotional harm.” 2 Restatement



137
    C.App. 72(Shank192-93); S.App.245(3/6/15 incident report that Shank kept running
into Student One); S.App.370(3/10/15 Wagner letter notifying Student One he violated
no contact order).
138
    Sokolow Decl. Ex. 1 at 42-43(describing Shank’s physical harm); S.App.468-
71(detailing Shank’s mental and physical harm); S.App.472-74(Shank’s harm includes
insomnia, nightmares, difficulty concentrating, insomnia, panic attacks, severe test
anxiety, and objectively measurable conditions of PTSD and OCD).
                                                39
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 40 of 43



(Third) Torts §47(b)(2012). Indeed, institutional betrayal like Carleton’s commonly

causes much more significant damage to a student than the conduct of the assailant.

Freyd Decl. Ex. 1 at 4; Jennifer Freyd & Pamela Birrell, Blind to Betrayal 38-39

(2013)(institutional betrayal exacerbates sexual assault and “is particularly toxic”).

       Shank’s harm caused by Carleton’s direct negligence was also foreseeable. A jury

could reasonably conclude it was foreseeable that Shank would be harmed by, for

example, Carleton’s failure to: (1) move either Student One or Student Two from the

same dormitory; (2) remove the Student One Posters; (3) offer Shank various academic

and housing accommodations; and (4) follow up when Shank was cutting herself.

       The fact that those and other actions or omissions by Carleton were required or

precluded by Carleton’s own policies and/or relevant law, further demonstrates the

foreseeability of Shank’s harm. Furek v. Univ. of Del., 594 A.2d 506, 520 (Del.

1991)(reversing j.n.o.v. in favor of university because university “was knowledgeable of

the dangers of hazing,” had a “policy against hazing,” a policy “of discipline for hazing

infractions,” and an “overall commitment to provide security on campus,” thus university

owed “an assumed duty” to student burned during hazing).

       Based on the foregoing, the Court should deny summary judgment on Shank’s

negligence claim.

IV.    THE COURT SHOULD DENY SUMMARY JUDGMENT ON SHANK’S
       IIED CLAIM.

       Judge Schiltz allowed Shank’s IIED claim to go forward to the extent it was based

on the one-on-one meeting, Shank, 232 F. Supp. 3d at 1114, about which there are


                                             40
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 41 of 43



material fact disputes. Supra. Carleton argues the claim fails because Shank “insisted on

meeting alone with Student One,” D.M.35, and “there is no evidence of any intent by

Carleton to cause severe emotional distress or knowledge that it was highly probable.”

Id. 36.

          Carlson admitted, however, that the mediated conversation was all her idea.

C.App.154-55(Carlson 111-13). Shank was also coerced because Carlson and Thornton

told her (incorrectly) the meeting was the only way she could find out the sanctions.139

          Evidence also shows Carleton knew it was highly probable such a meeting would

cause severe emotional distress for Shank. Carleton was aware Shank’s mental health

was “unstable” at the time. Just three weeks before the meeting with Student One, a CCF

was submitted indicating Shank was “exhibiting troubling behavior. She is unstable and

has had trouble with serious depression in the past…. She was also sexually assaulted

last year by another student and this has led to severe psychological trauma for her.”

C.App.669(CCF).140 Carleton also knew Shank was terrified of Student One and had

aborted a prior meeting with him because she was “freaked out.” C.App.663.

          Carlson and Thornton nonetheless pushed the meeting, making a dangerous effort

at restorative justice without the requisite qualifications.141 C.App.162(Shank 143);

S.App.570-71(Koss Dep. 96-97). Indeed, Dr. Freyd testified the meeting was



139
    C.App.73-76(Shank 197-200, 205-06).
140
    See C.App.784(Carlson email); C.App.160(Carlson133-34).
141
    Carlson testified mediated conversations were used at Carleton for things like
roommate disputes. Supra n.97 & accompanying text. Such disputes are a far cry from a
rape case. Carleton also violated crucial restorative justice principles. Supra n.111.
                                              41
      CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 42 of 43



“disastrous” and she would have advised “don’t put these two people alone in a room

together.” S.App.14.03(115).

       On those facts, there is a jury question whether Carleton knew the emotional

distress was highly probable.

V.     THE COURT SHOULD DENY SUMMARY JUDGMENT ON SHANK’S
       ADA CLAIM.

       Carleton argues Shank’s ADA claim fails because Carleton provided Shank with

sufficient accommodations. D.M.25-30. Again, this is a jury question. Among other

things, Carleton refused to offer Shank housing alternatives as required by its policies,

S.App.243-44(Shank Aff. ¶¶2-3); refused to remove from Shank’s academic record the

incomplete grade she received the first semester of her freshman year (after the first

rape), C.App.37-39; 41-42(Shank 68-73; 81-85); refused to let Shank attend summer

school after her sophomore year, C.App.70(Shank 184-85); refused to let Shank attend

one more semester at Carleton to finish her degree in 2015, C.App.390-91(V. Shank 178-

79); continually put the onus on her to work things out with her professors,

C.App.47(107); C.App.814; C.App.824-53; and gave her unnecessarily harsh academic

feedback to further damage her tenuous mental and emotional state. C.App.37-39; 41-42;

70(Shank 68-73; 81-85; 184-85); C.App.720; C.App.725; C.App.766; C.App.799; supra

n.38(citing cases). The Court should therefore let a jury decide the alleged adequacy of

Carleton’s accommodations.

VI.    THE COURT SHOULD DENY THE MOTION ON SHANK’S PUNITIVE
       DAMAGES CLAIMS.

       The Title IX standard and the Minnesota punitive damages standard (deliberate

                                             42
     CASE 0:16-cv-01154-ECT-HB Document 275 Filed 03/08/19 Page 43 of 43



indifference vs. deliberate disregard) are substantial equivalents. Shank’s proof supports

both and the Court should deny the motion for the reasons set forth in the Title IX

deliberate indifference discussion.

       In the alternative, the Court should defer ruling on punitive damages until the jury

returns a verdict on the first phase of the trial.

                                       CONCLUSION

       Based on the foregoing, Shank asks the Court to deny Carleton’s motion for

summary judgment.

Dated: March 8, 2019                                 BERENS & MILLER, P.A.

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                                               43
